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                      Exhibit “J”
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                                           DOCUMENT REQUEST
                                                  SIDDIQI 19-42834

1.    Turnover of the 2018 tax refund in the amount of $536

2.    All documentation related to Debtor’s business “Helping Restore Ability”

3.    Complete copy of Debtor’s passport (all pages)

4.    All documentation related to Debtor’s rent house located at 8114 Carson Court, Rowlett, Texas 75088.
      If the property was sold, all documentation related to the sale

5.    All documentation related to the United and American airlines charges in July 2018 (see attached)

6.    All documentation related to the $100,000.00 wire in June 2019 (see attached)

7.    All documentation related to the Stolz Telecom charge in June 2018 (see attached)

8.    All documentation related to the Orlando trip and Spirit Airline charges on June 11, 12, and 25, 2018 (see
      attached)

9.    All books, records and files reflecting the financial transaction of Hiba Financial, Inc. for the past five
      (5) years, including bank statements, accounting records, QuickBooks or equivalent financial record
      keeping

10. All documentation related to the T-Mobile charges to Hiba on May 8, 2018 (see attached)

11. All credit card statements of the Debtor for the three (3) years prior to and including the bankruptcy filing

12.   All credit card statements of Hiba for the three (3) years prior to and including the bankruptcy filing

13.   All documentation related to the 04/09 jewelry charge (see attached)

14.   All documentation related to the Simmons Bank charges by Hiba

15.   Copy of check #1118 paid on January 8, 2018 for $30,000.00 (see attached)

16.   An explanation of wire transfers to Vibrant Media Group by Hiba

17.   All documentation related to the $10,000.00 withdrawal on 7/25 (see attached)

18.   Copies of check nos. 1045, 1048, and 1049 (see attached)

19.   The residence and mailing address (if different) for Debtor’s brother, Muhammad A. Siddiqi

20.   Turnover of all cash and bank account balances as of the Petition Date (October 16, 2019) together with
      the corresponding bank documentation verifying the balances as of the Petition Date

21.   Identity of the Chase account number that has been frozen and if the account is still frozen
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            CHASEC                                                                    August 01. 2018thraugh August 31, 2018
           JPMorgan Chase Bank. N.A.
                                                                                    Account Numtier:                   0290
           P O Box 182051
           Columbus, OH 43218-2051

                                                                                  CUSTOMER SERVICE INFORMATION
                                                                                 Web site;                         Chase.com
                                                                                 Service Center:               1^-800-242-7338
        00026064 ORE 201 142 24418 NNNNNNNNNNN T 1 000000000 600000              Deaf ancJ Hard of Hearing;    1-800-242-7383
        HIBA ENTERTAINMENT INC                                                   Para Espanol:                 1-888-622-4273
        3020 BIG TOWN BLVD                                                       International Calls:          1-713-262-1679
        MESQUITE TX 75150-2412




                                               Chase BusinessSelect Checking
     CHECKING SUMMARY
                                                  INSTANCES                      AMOUNT
    Beginning Balance                                                        $18,345.53
    ATM & Debit Card Withdrawals                           1                     -30.06
    Electronic Withdrawals                                 1                 -16,500.00
    Other Withdrawals                                     2                    -1,780.47
    Fees                                                   1                      -35.00
    Ending Balance                                                                $0.00



    I ATM & DEBIT CARD WITHDRAWALS
    DATE      DESCRIPTION                                                                                                AMOUNT


a   08/07     Card Purchase

4 Total ATM & Debit Card Withdrawals
                                     08/06 Brinkster Brinkster B 480-388-3777 AZ Card 4378                               $30.06
                                                                                                                          $30.06



     ATM & DEBIT CARD SUMMARY
    Muhammad Siddiql Card 4378
                              Total ATM Withdrawals & Debits                                                              $0.00
                              Total Card Purchases                                                                       $30.06
                              Total Card Deposits & Credits                                                               $0.00

    ATM & Debit Card Totals
                              Total ATM Withdrawals & Debits                                                              $0.00
                              Total Card Purchases                                                                       $30.06
                              Total Card Deposits & Credits                                                               $0.00


    ELECTRONIC WITHDRAWALS
    DATE      DESCRIPTION                                                                                                AMOUNT

    08/01     08/01 Domestic Wire Transfer Via: Tib Dallas/111010170 A/C: Grand Ridge National Bank Ref:             $16,500 00
              For Further Creditr To:Vibrant Media Group LLC1069 W Golf Rdhoffman Es Tales, IL
              60169Account # 002Q008413 Imad;0801B1Qqc08C033917 Tm:6686000213Es
    Total Electronic Withdrawals                                                                                     $16,500.00
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            CHASE O                                                                          June 30,2018lhrough July 31, 2018
                                                                                         Account Number:                    0290



    ATM & Debit Card Totals
                              Total ATM Withdrawals & Debits                                                                       $0.00
                              Total Card Purchases                                                                         $2,531.04
                              Total Card Deposits & Credits                                                                      $88.00

    ELECTRONIC WITHDRAWALS
    DATE     DESCRIPTION                                                                                                         AMOUNT
    07/02    Paymenlech       Chargeback 6241464            CCD ID: 1020401225                                              $4,000.00
a   07/02
    07/02
             Paymentech
             Paymentech
                              Deposit 6241464
                              Fee        6241464
                                                       CCD ID; 1020401225
                                                      CCD ID: 1020401225
                                                                                                                             4,000.00
                                                                                                                                  568.80
    07/06   07/06 Domestic Wire Transfer Via; Tib Dallas/111010170 A/C: Grand Ridge National Bank Ref:                      16.200.00
            Fct: Vibrant Media Group LLC; Account # 0020008413 Imad;0706B1Qgc07C001666 Trn;
            6384800186Es
    07/09    Paymentech       Chargeback 6241464            CCD ID:1020401225                                                2,500.00
    07/11    Paymentech       Chargeback 6241464            CCD ID: 1020401225                                               2,650.00
    07/17    Paymentech       Chargeback 6241464            CCD ID: 1020401225                                               1,000.00
    07/18   Simmons Bank -LTeiPmts V8L7                    Tel ID: 1710162300                                                2,647.42
1/07/25      U.S. Bank N.A. Payment        000000515313653 Tel ID: 5551540853                                                     560.24

    Total Electronic Withdrawals                                                                                          $34,126.46


    OTHER WITHDRAWALS
    DATE    DeSCRIPTK)N                                                                                                          AMOUNT
    07/25   07/25 Withdrawal                                                                                              $10,000.00
    Total Other Withdrawals                                                                                               $10,000.00


    FEES
    DATE    DESCRIPTION                                                                                                          AMOUNT
    07/06   Domestic Wire Fee                                                                                                     $35.00
    07/11   Insufficient Funds Fee For A $2,650,00 Item - Details: Paymentech        Chargeback 6241464                            34.00
            CCD ID: 1020401225
    07/24   Official Checks Charge                                                                                                  8.00
    07/25   Official Checks Charge                                                                                                  8.00
    07/31   Cash Deposit Immediate                                                                                                 60.75
    Total Fees                                                                                                                   $145.75



    DAILY ENDING BALANCE
    DATE_                      AMOUNT              DATE                         AMOUNT            DATE               _            AMOUNT
07/02                      $2,699.39               07/17                    8.404.87             07/24                            3,667.35

07/05                      22,654.28               07/18                    7,251.25             07/25                           2,082.88

07/06                         6,301.32             07/19                    3,906.25             07/26                           2,039.82

07/09                         2.094.27             07/20                    3,825.47             07/27                           2,037,67

07/11                          -589.73             07/23                    3,703.22             07/31                           18,345.53

07/16                         4,410.27




                                                                                                                         Sol 4
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            CHASE Cf                                                                        June 30.201 Blhrough July 31,2018
                                                                                        Account Number:                     0290



    CHECKS PAID
                                                                                                          DATE
    CHECK NO.           DESCFtIPTION                                                                      PAID                  AMOUNT
    1045                                                                                                  07/02            $2,100.00
    1048                                                                                                  07/02            35,000.00
    1049 "                                                                                                07/19             3,645.00
    Total Checks Paid                                                                                                    $40,745.00
    If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
    not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
    * All of your recent checks may not be on this statement, either t>ecause they haven't cleared yet or they were listed on
      one of your previous statements.
    * An image of this check may be available for you to view on Chase.com.


    ATM & DEBIT CARD WITHDRAWALS
    DATE     DESCRIPTION                                                                                                        AMOUNT
    07/02    Card Purchase          06/30 Apl*ltunes.Com/Bill 800-275-2273 CA Card 4378                                          $0.99
    07/02    Recurring Card Purchase 07/01 Sprint "Wireless 800-639-6111 KS Card 4378                                           136.60
    07/05    Card Purchase With Pin 07/03 Racetrac 93 Allen TX Card 4378                                                         45.11
    07/06    Card Purchase         07/06 Cheaptlx*73640459876 Www.Ctix.lnfo WA Card 4378                                         88.00
    07/06    Card Purchase         07/06 Cheaptix'73640459876 Www.Ctix.lnfo WA Card 4378                                         29.96
    07/09    Card Purchase          07/05 United     016712057 800-932-2732 TX Card 4378                                        602.40
    07/09    Card Purchase          07/05 United     016712057 800-932-2732 TX Card 4378                                        602.40
    07/09    Card Purchase          07/06 Brinkster Brinkster B 480-388-3777 AZ Card 4378                                        30.06
    07/09    Card Purchase          07/06 American Alr00121983119 Fort Worth TX Card 4378                                       500.40
    07/09    Card Purchase          07/06 American Air00106277318 Fort Worth TX Card 4378                                        35.00
    07/09    Card Purchase         07/06 Dallas FT. Worth Alrpo Dfw Airport TX Card 4378                                          9.20
    07/09    Card Purchase With Pin 07/09 Racetrac 93 Allen TX Card 4378                                                         15.59
    07/17    Card Purchase         07/17 Apl*ltunes.Com/Bill 800-275-2273 CA Card 4378                                            5.40
    07/18    Card Purchase         07/17 Alamo Rent Acar Tolls 877-8601284 NY Card 4378                                           6.20
    07/20    Card Purchase With Pin 07/20 Wm Superc Wat-Mart Sup Lucas TX Card 4378                                              79.33
    07/20    Card Purchase With Pin 07/20 Wm Superc Wal-Mart Sup Lucas TX Card 4378                                               1.45
    07/23    Card Purchase       07/20 Sq "Kabobi Fresh Medite Richardson TX Card 4378                                           42.45
    07/23    Card Purchase With Pin 07/21 Racetrac 93 Allen TX Card 4376                                                         17.86
    07/23    Card Purchase With Pin 07/21 Quiktrip Piano TX Card 4378                                                            61.94
    07/24    Card Purchase With Pin 07/24 Racetrac 93 Allen TX Card 4378                                                         27.87

a   07/25    Recurring Card Purchase 07/25 Adobe "Acropro Subs 800-833-6687 OA Card 4378                                         16.23
"07/26       Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378                                                         13.14
    07/26    Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378                                                         15.46
    07/26    Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4378                                                         14.46
    07/27    Card Purchase       07/27 ApFltunes.Com/Bill 800-275-2273 CA Card 4378                                               2.15
    07/31    Card Purchase       07/30 Apl'ltunes.Com/Bill 800-275-2273 CA Card 4378                                              0.99
    07/31    Recurring Card Purchase 07/31 Sprint "Wireless 800-639-6111 KS Card 4378                                           130.40
    Total ATM & Debit Card Withdrawals                                                                                     $2,531.04



     ATM & DEBIT CARD SUMMARY
    Muhammad Siddiqi Card 4378
                             Total ATM Withdrawals & Debits                                                                   $0.00
                             Total Card Purchases                                                                         $2,531.04
                             Total Card Deposits & Credits                                                                      $88.00



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Form 1040(2018)                             MUHAMMAD SIDDIQI                                                                                                -2222

                           1        Wages, salaries, tips, etc. Attach Form(s) W-2                                                                                  1            124,920
Attach Form{s)
                          2a        Tax-exempt interest                               2a                                             Taxable interest. .            2b
W-2. Also attach
Form(s) W-2G and          3a        Qualified dividends                               3a                                             Ordinary dividends             3b
1099-R if tax was
withheld.                 4a        IRAs, pensions, and annuities . . . .             4a                                             Taxable amount .               4b

                          5a        Social security benefits                          5a                                             Taxable amount. .              5b                 0

                          6         Total income. Add lines 1 through 5. Add any amount from Schedule 1, line 22                                                    6            124,920
                           7        Adjusted gross Income. If you have no adjustments to Income, enter the amount from line 6; otherwise,
                                    subtract Schedule 1, line 36, from line 6                                                                                                    124,920
Standard              L_                                                                                                                                            7
Deduction for—
                          _8_       Standard deduction or itemized deductions (from Schedule A)                                                                     8             18,529
• Single or married                                                                                                                                                 9
                           9        Qualified business Income deduction (see instructions)
 filing separately,
 $12,000                  10        Taxable Income. Subtract lines 8 and 9 from line 7. If zero or less, enter -0-. . .                                    ^        10           106,391
• Married filing
 Jointly or Qualifying
                       11           a Tax(see lost) 19,823 (check If any from:                      Form(s)8814              Form 4972

 widow(er),
                                    b Add any amount from Schedule 2 and check here                                                                                 11            19,823
 $24,000
• Head of                 12        a Child tax credit/credit for other dependents                b Add any amount from Schedule 3 an                               12
 household,
 $18,000                  13        Subtract line 12 from line 11. If zero or less, enter -0-                                                                       13            19,823
• If you checked                                                                                                                                                    14
                          14        Other taxes. Attach Schedule 4
 any box under
 Standard                 15        Total tax. Add lines 13 and 14                                                                                                  15            19,823
 deduction.
 see instructions.        16        Federal Income tax withheld from Forms W-2 and 1099                                                                             16            20,359
                          17        Refundable credits: a EIC (see Inst.)                       bSch 8812                           c Form

                                                                                                                                                                    17                  0
                                    Add any amount from Schedule 5
                          18        Add lines 16 and 17. These are your total payments                                                                              18            20,359
                          19        If line 18 is more than line 15, subtract line 15 from line 18. This is the amou!ify|^tVerpai                                   19               536
Refund
                          20a       Amount of line 19 you want refunded to you. If Form 8888 Is attached, c|ie® here                                                20a              536
Direct deposit? ^              jj   Routing number        xxxxxxxxx                                           Pi Tyoe:              Checking    |   | Savings
See instructions.




Amount You Owe
                      ►

                          21

                          22
                               d    Account number        xxxxxxxxxxxxxxxxx
                                    Amount of line 19 you want applied to your 2019 estimated tax .                           21

                                    Amount you owe. Subtract line 18 from line 15. For details onifjowto pay, see Instructions .                                    22
                                                                                                                                                                          I
                                                                                                                                                                          I             0
                          23        Estimatedjax^^nalt^_^seejnstruc^^                                                     ^ I 23 I
                                                                                                                                                                                 Form 1040 (2018)
Go to www.irs.gov/Fonv1040for instructions and the latest Information.
                                                                                                                                                                    -K,
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                                W-2 Detail Listing                                    2015


                                                                                 Social Security No.
MUHAMMAD SIDDIOI
                                                                                                -2222
                                                 FEDERAL                 STATE
T/S            Employer Name           Gross         W/H    Slate Code   Gross                     W/H
                                      127,715      28,352
      HELPING RESTORE ABILITY          3.4,483      5,659

                                      162,198      34,Oil
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 SCHEDULE E                                               Supplemental Income and Loss                                                               OMB No. 1MS-0074
 (Form 1040)                           (From rontal real estate, royalties, partnerslilps.S corporations, estates,tivsts, REMCs.etc.)
 Departmenl of Ihd Treasury                                  ► Attach to Form 1040,1040NR. or Form 1041.                                                   2015
 tnienrtaj Reveoue Service(99)
 N8me(s)shown on return
                                                      ahout Schedule E and Its separate Instructions la at www.lrs.gov/schedulea.                     Atiachment
                                                                                                                                                      Sequence No      i3
                                                                                                                                         Your eoclai security number
 MIJHAMMAD SIDDIQI
                   Income or Loss From Rental Real Estate and Royalties Note; If you are in ttie business of renting perso                              -2222
                   Schedule C or C-EZ (see mstruclions). If you are an Individual, report farm rental Income or loss from Form 4035 on nane ? iin^ an
  A Did you make any payments ki 2015 that would require you to file Fonn(s) 1099? (see Instructions)                    ^                      n
                                                                                                                                                               ^ No
  B If'Yes,'did you orwill you file required Forms 1099?
                                                                                                                                                                    No
      la      Physical address of each property (street, city, state, ZIP code)
           U14 CARSON CT ROWLBTT TX 75088



      lb          Type of Property         2 For each rental real estate property listed                   Fair Rental          Personal Use
                  (from list below)             at>ove, report the number of fair rental and
                                                personal use days. Check the QJV box                          Days                      Days
                                                only if you meet the requirements to file as
      B                                         a qualified joint venture. See Instructions.


 Type of Property:
 1 Single Family Residence                         Vacatjon/Short-Term Rental              Land                      Rental
2 Multi-Family Residence                           Commercial                              Royalties                   (describe)
     Income:                                                                Properties:
  3    Rents received
 4     RoyaliiBs received
Expenses
 5 Advertising
8 Auto and travel (see ins tructions)
 7     Cleaning and maintenance
 8     Commissions
 9     Insurance                                                                                         1,778
10     Legal and other professional fees
11     Management fees
12     Mortgage Interest paid to t>anks, etc. (see instrucBons
13     Other Interest
14     Repairs
15     Supples                                                                                           3,451
16    Taxes                                                                                              2,279
17    Utilities
18    Depreclab'on expense or                                                                           5,196
19    Other (list) ►
20    Total expenses. Add lin e                                                                        13,633
21    Subtract line 20 f                                    (royalties). If
      result Is a (los^               tnjchon           oiitifyou must
      file Form 6198                                                                                   (12,199)
22    Deductible ren                            after limitation. If any.
      cm Form 8582 (
23a   Total of all amounts          on line 3 for all rental properties                                                         1,434
  b   Total of all amounts reported on tine 4 for alt royalty propertiss
  c   Total of all amounts reported on line 12 for all properties
  d   Total of aH amounts reported on line 18 for all properties                                                               ^ 196
  e Total of aii amounts reported on fine 20 for all properties                                                               13,633
24 Incomo.Addposttivo amounts shown on line 21. Do notindude any losses
25 Losses. Add royally tosses from line 21 and rental real estate losses from line 22. Enter total losses hd-e.
26 Total rental real estate and royalty income or (loss). Combine lines 24 and 23. Enter the result here.
   If Parts II, ttl, IV. and line 40 on page 2 do not apply to you. also enter Bils amount on Form 1040, tine
     17, or Form 1040NR, line 18. Otherwise, include this amount In the total on line 41 on page 2
For Paperwork Reduction Act Notice, see ttie separate Instructions                                                                  Schedule E (Form 1040) 2015
EEA
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           CHASE O                                                                        June 30, 201 Slhfough July 31. 2018
                                                                                      Account Number:                       0230



   CHECKS PAID
                                                                                                        DATE
   CHECK NO.           DESCRIPTION                                                                      PAID                     AMOUNT
   1045 "                                                                                               07/02              $2,100.00
   1048                                                                                                 07/02              35,000.00
   1049                                                                                                 07/19                   3,645.00
   Total Checks Paid                                                                                                     $40,745.00
   if you see a description in the Checks Paid section, it means that we received only electronic information about the check,
   not the original or an image of the check. As a result, we're not able to return the check to you or show you an Image.
   * All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
     one of your previous statements.
   "An image of this check may be available for you to view on Chase.com.


   ATM & DEBIT CARD WITHDRAWALS
    DATE    DESCRIPTION                                                                                                          AMOUNT
   07/02    Card Purchase       06/30 Apritunes.Com/Bill 800-275-2273 OA Card 4378                                                $0.99
   07/02    Recurring Card Purchase 07/01 Sprint 'Wireless 800-639-6111 KS Card 4378                                             136.60
   07/05    Card Purchase With Pin 07/03 Racetrac 93 /Mien TX Card 4378                                                           45.11
   07/06    Card Purchase         07/06 Cheaptix'73640459876 Www.Ctix.lnfo WA Card 4378                                           88.00
   07/06    Card Purchase         07/06 Cheaptix'73640459876 Www.Ctix.lnfo WA Card 4378                                           29.96
   07/09    Card Purchase         07/05 United     016712057 800-932-2732 TX Card 4378                                           602.40
   07/09    Card Purchase         07/05 United     016712057 800-932-2732 TX Card 4378                                           602.40
   07/09    Card Purchase         07/06 Brinkster Brinkster B 480-388-3777 /kZ Card 4378                                          30.06
   07/09    Card Purchase         07/06 American /Mr001219B3119 Fort Worth TX Card 4378                                          500.40
   07/09    Card Purchase         07/06 American AirOOl06277318 Fort Worth TX Card 4378                                           35.00
   07/09    Card Purchase         07/06 Dallas FT. Worth Airpo Dfw Airport TX Card 4378                                            9.20
   07/09    Card Purchase With Pin 07/09 Racetrac 93 Allen TX Card 4378                                                           15.59
   07/17    Card Purchase         07/17 Apl'itunes.Com/Bill 800-275-2273 CA Card 4378                                              5.40
   07/18    Card Purchase         07/17 /Mamo Rent Acar Tolls 877-8601284 NY Card 4378                                             6.20
   07/20    Card Purchase With Pin 07/20 Wm Superc Wal-Mart Sup Lucas TX Card 4378                                                79.33
   07/20    Card Purchase With Pin 07/20 Wm Superc Wal-Mart Sup Lucas TX Card 4378                                                 1.45
   07/23    Card Purchase       07120 Sq 'Kabobi Fresh Medite Richardson TX Card 4378                                             42.45
   07/23    Card Purchase With Pin 07/21 Racetrac 93 Allen TX Card 4376                                                           17.86
   07/23    Card Purchase With Pin 07/21 Quiklrip Piano TX Card 4378                                                              61.94
   07/24    Card Purchase With Pin 07/24 Racetrac 93 Allen TX Card 4378                                                           27.87

a. 07/25    Recurring Card Purchase 07/25 Adobe'Acropro Subs 800-833-6687 CA Card 4378                                            16.23
  "07/26    Card Purchase With Pin 07/26 Racetrac 93 /Mien TX Card 4376                                                           13.14
   07/26    Card Purchase With Pin 07/26 Racetrac 93 Alien TX Card 4378                                                           15.46
   07/26    Card Purchase With Pin 07/26 Racetrac 93 Allen TX Card 4373                                                           14.46
   07/27    Card Purchase         07/27 Apl'ltunes.Com/Bill 800-275-2273 CA Card 4378                                              2.15
   07/31    Card Purchase     07/30 Apl'ltunes.Com/Bill 800-275-2273 CA Card 4378                                                  0.99
   07/31    Recumng Card Purchase 07/31 Sprint "Wireless 800-639-6111 KS Card 4378                                               130.40
   Total ATM & Debit Card Withdrawals                                                                                      $2,531.04



    ATM & DEBIT CARD SUMMARY
   Muhammad Siddiqi Card 4378
                            Total ATM Withdrawals & Debits                                                                    $0.00
                            Total Card Purchases                                                                          $2,531.04
                            Total Card Deposits & Credits                                                                       $88.00



                                                                                                                  P«ge 2 of 4
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        CHASE O                                                                       June 01, 2018through June 29,2018
                                                                                   Account Number.                  0290



                                                     (continued)
ELECTRONIC WITHDRAWALS
 DATE    [>ESCR1PTI0N                                                                                                   AMOUNT
 06/21   06/21 Payment To Chase Card Ending IN 3191                                                                    1,500.00
 06/26   Quickpay With Zelle Payment To Guy G Cannon 7262947096                                                          300.00
 06/29   06/29 Domestic Wire Transfer A/C: Sahil Promotions, Inc. Chicago iL 60659-1803 Ref: For                  100.000.00
         Da-Bangg Concerl Tm: 7224700180Es
 Total Electronic Withdrawals                                                                                   $109,544.71


OTHER WITHDRAWALS
 DATE    DESCniPTION                                                                                                    AMOUNT

06/22    Deposited Item Returned       Altered/Flctiti099002857                        # of                        $5,429.00
         ltems00001CI<#:00Q0009742                                Dep Amt0000542900     Dep
         Date062018Ck Aml0000542900                                                         Svc
         Fee001200
 Total Other Withdrawals                                                                                           $5,429.00


 FEES
 DATE    DESCRIPTION                                                                                                    AMOUNT
06/22    Deposit item Returned Fee: 01 Altered/Fictiti099002857                          # of                            $12.00
         ttemsOa001Ck#;0000009742                            Dep Amt0000542900          Dep
         Date062018Ck AmtOOOOOOl 200                                                        Svc
         Fee001200
06/29    Domestic Wire Fee                                                                                                35.00

 Total Fees                                                                                                              $47.00


 DAILY ENDING BALANCE
DATE                        AMOUNT            DATE                       AMOUNT               DATE                        AMOUNT

06/01                   $100,480.19          06/12                    103,061.82            06/21                  122,603.39

06/04                     98,684.89          06/13                    103,026.77            06/22                  119.812.39

06/05                     98,615.41          06/14                    102,943.96            06/25                  134,085.93

06/06                    103,115.41          06/15                    108,389.07            06/26                  133,785.93

06/07                    103,050.07          06/18                    105,338.39            06/27                  135,104.78

06/08                    103,040.08          06/19                    106,574.39            06/28                  137,264.78

06/11                    103,113.82          06/20                    122.303.39            06/29                      37,629.78


SERVICE CHARGE SUMMARY
You were not charged a monthly service fee this month. Your monthly service fee can continue to be waived in five
different ways during any statement period:
•         Maintain an average daily balance of $7,500.00. Your average daily balance was $108,464.00. OR
•         Maintain a relationship balance of $25,000.00 or more during the statement period. Your relationship balance
         was $110,726.00. OR
•        Link a qualifying personal checking account to your Chase BusinessSelect Cheddng account Your Premier
         Pius personal checking account is linked. OR
•        Spend at least $1,000.00 on a linked Chase Business Credit Card. You spent $0.00. OR
•        Pay at least $50.00 in qualifying checking-related services or fees. You paid $47.00.
See your Account Rules and Regulations or stop in to see a banker today to find out more.




                                                                                                                3or4
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          CHASE©                                                                       June 01.2018lhrough June 29, 2018
                                                                                    Account Number:                    0290




  ATM & DEBIT CARD WITHDRAWALS
   DATE   DESCniPTION                                                                                                      AMOUNT

  06/04   Card Purchase          06/02 Expedia 7356420265741 Expedia.Com WA Card 4378                                      $377.98
  06/04   Card Purchase With Pin 06/03 Pilot #1028 Buffalo TX Card 4378                                                      57.03
  06/05   Card Purchase          06/01 Hilton Media Grill Bar Dallas TX Card 4378                                           69.48
  06/07   Card Purchase          06/05 Autozone #3106 Carrollton TX Card 4378                                               179.97
  06/07   Card Purchase          06/06 IN 'Stolz Telecom Inc 405-6322262 OK Card 4378                                       355.31
  06/07   Card Purchase          06/06 Brinkster Brinkster B 480-388-3777 AZ Card 4378                                       30.06
  06/08   Card Purchase With Pin 06/08 7-Eleven 33621 Wylie TX Card 4378                                                      9.99
  06/11   Card Purchase       06/08 Spirit /\irl 48701785926 Miramar FL Card 4378                                            52.00
  06/11   Card Purchase          06/10 Alamo Rent-A-Car Oriando FL Card 4378                                                 95.50
  06/11   Card Purchase          06/10 Doubletree Orlando Down Oriando FL Card 4378                                         148.43
  06/11   Card Purchase With Pin 06/10 Wawa Store 5163 Orlando FL Card 4378                                                  4.56
  06/11   Card Purchase          06/10 Dunkin #350220 Oriando FL Card 4378                                                   8.75
  06/11   Card Purchase          06/10 Magic of Disney Orlando FL Card 4378                                                  17.02
  06/12   Card Purchase          06/10 Spirit Airl 48701787258 Miramar FL Card 4378                                         52.00
  06/13   Card Purchase          06/12 Chevron 0210336 Carrollton TX Card 4378                                               7.18
  06/13   Card Purchase With Pin 06/13 Quiktrip Richardson TX Card 4378                                                     27.87
  06/14   Card Purchase          06/13 Starbucks Store 22380 Dallas TX Card 4378                                            28.74
  06/14   Card Purchase          06/13 Starbucks Store 20225(Donroe TX Card 4378                                             6.75
  06/14   Card Purchase With Pin 05/13 Buc-Ee's #26 205 lh-4 Madisonville TX Card 4378                                      47.32
  06/15   Card Purchase          06/13 7-Eleven 33116 Dallas TX Card 4378                                                   58.93
  06/15   Card Purchase          06/14 Sq 'KabobI Fresh Medlte Richardson TX Card 4378                                      35.96
  06/18   Card Purchase          06/15 Waterfalls Lube An Allen TX Card 4378                                                 10.00
  06/18   Card Purchase With Pin 06/16 Racetrac 93 Allen TX Card 4378                                                       37.86
  06/18   Card Purchase          06/17 Apl* Itunes.Com/Bill 866-712-7753 CA Card 4378                                         5.40
  06/25   Card Purchase          06/21 Spirit Alrl 4870179648 800-7727117 FL Card 4378                                 1,100.76
  06/25   Card Purchase          06/22 Westin Atlanta Perimete Atlanta GA Card 4378                                         32.71
  06/25   Card Purchase With Pin 06/24 Amk Field Museum Alrpo Chicago IL Card 4378                                          21.99
  06/27   Card Purchase          06/27 Apl' Itunes.Com/Blil 866-712-7753 CA Card 4378                                         2.15

  Total ATM & Debit Card Withdrawals                                                                                 $2,881.70



   ATM & DEBIT CARD SUMMARY
  Muhammad Siddiqi Card 4378
                            Total ATM Withdrawals & Debits                                                               $0.00
                            Total Card Purchases                                                                     $2,881.70
                            Total Card Deposits & Credits                                                                $0.00
  ATM & Debit Card Totals

                            Total ATM Withdrawals & Debits                                                                  $0.00
                            Total Card Purchases                                                                     $2,881.70
                            Total Card Deposits & Credits                                                                   $0.00


  ELECTRONIC WITHDRAWALS
   DATE   DESCRIPTION                                                                                                      AMOUNT

  06/01   Farmers Ins     EFT Pymt              PPD ID: 1952575893                                                   $2,737.00
  06/04   Quickpay With Zelle Payment To Aaam 7197335277                                                                   905.00
a 06/04   Paymentech      Fee     6241464     CCD ID: 1020401225                                                           455.29
  06/18   06/18 Payment To Chase Card Ending IN 3191                                                                   1,000.00
  06/18   Simmons Bank - L Tel Pmts      N5H7         Tel ID: 1710162300                                               2,647.42


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             CHASE O                                                                      May 01, 2018through May 31, 2018
                                                                                      Account Number;                     0290




   DEPOSITS AND ADDITIONS
    DATE         DESCRIPTION                                                                                                   AMOUNT
/■-) 05/04       Transfer From Chk Xxxxxx8277                                                                            $1,000.00
 L 05/14         Paymentech     Deposit      6241464       CCD ID: 1020401225                                                 1,495.00
  ' 05/15        Remote Online Deposit           1                                                                       10,000.00
   05/16         Deposit   972720965                                                                                          5,000.00
   05/16         Paymentech    Deposit       6241464       CCD ID; 1020401225                                                  897.00
   05/17         Paymentech     Deposit      6241464    CCD ID: 1020401225                                                     600.00
   05/18         Paymentech      Deposit     6241464    CCD ID: 1020401225                                                    1,210.00
   05/21         Paymentech      Deposit     6241464    CCD ID: 1020401225                                                    1,200.00
   05/23         Deposit   968561194                                                                                          5,000.00
   05/25         Quickpay With Zelle Payment From Staffing International Inc 7174085222                                       1,197.00
   05/25         Paymentech     Deposit 6241464         CCD ID: 1020401225                                                     560.00
   05/25         Quickpay With Zelle Payment From Guy G Cannon 7177356682                                                      276.00
   05/29         Paymentech        Deposit   6241464       CCD ID: 1020401225                                                 7,000.00
   Total DeposHs and Additions                                                                                         $35,435.00


   ATM & DEBIT CARD WITHDRAWALS
    DATE      DESCRIPTION                                                                                                      AMOUNT
   05/01      Card Purchase         04/30 Apr Itunes.Com/Bltl 866-712-7753 CA Card 4378                                         $0.99
   05/07      Card Purchase         05/06 Brinkster Brinkster 480-388-3777 AZ Card 4378     i J/fkn A-                          30.06
    05/07     Non-Chase ATM Withdraw 05/06 18599 Marsh Lane Dallas TX Card 4378                                                302.50
    05/08     Card Purchase With Pin 05/08 T-Moblle #9094 Carrollton TX Card 4378                                              551.93
    05/08     Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378                                               129.46
   05/08      Card Purchase With Pin 05/08 T-Mobile #9094 Carrollton TX Card 4378                                              216.49
   05/10      Card Purchase With Pin 05/10 Racetrac 93 Allen TX Card 4378                                                       23.12  ■t/
   05/11      Card Purchase         05/09 Racetrac 93   00000935 Allen TX Card 4378                                              12.58
                                                                                                                                       /
    05/11     Card Purchase With Pin 05/11 Wm Superc Wal-Mart Sup Lucas TX Card 4378                                            70.83
    05/14     Card Purchase         05/13 Racetrac 93   00000935 Allen TX Card 4378                                             27.86    /
    05/14     Card Purchase With Pin 05/13 Wal-Mart #5672 Lucas TX Card 4378                                                     15,56
    05/15     Card Purchase         05/14 Starbucks Store 24470 Lucas TX Card 4378                                                3.95
   05/17      Card Purchase       05/17 Apr Itunes.Com/BIII 866-712-7753 CA Card 4376                                             5.40
   05/21      Card Purchase With Pin 05/20 Ouiktrip Corp Wylie TX Card 4378                                                      39.99
   05/23      Card Purchase       05/22 Hctra Ez Tag Online 281-8753279 TX Card 4378                                             10.25
   05/29      Card Purchase       05/27 Apr Itunes,Com/Bill 866-712-7753 CA Card 4378                                             2.15
    05/29     Card Purchase         05/27 Sprint Store #^70 Piano TX Card 4378                                                  199.86
   05/30      Card Purchase         05/30 Cheaptix*73^56619701 Www.Ctix.lnfo WA Card 4378                                       44.94
   05/31      Card Purchase         05/30 Spirit Alrl 48701777779 Miramar FL Card 4378                                         787.14
   05/31      Card Purchase         05/30 Apr Itunes.Com/BIII 866-712-7753 CA Card 4378                                           0.99
    05/31     ATM Withdrawal         05/31 3047 Old Denton Rd Carrollton TX Card 4378                                          800.00
   Total ATM & Debit Card WHhdrawals                                                                                     $3,276.05



    ATM & DEBIT CARD SUMMARY

   Muhammad Siddiql Card 4378
                               Total ATM Withdrawals & Debits                                                           $1,102.50
                               Total Card Purchases                                                                     $2,173.55
                               Total Card Deposits & Credits                                                                    $0.00

   ATM & Debit Card Totals
                               Total ATM Withdrawals & Debits                                                           $1,102.50

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            CHASE O                                           iyw                        March 31,2018through April 30, 2018
                                                                                    Account Number:                        0290




    ATM & DEBIT CARD WITHDRAWALS
    DATE     OESCRIPTION                                                                                                        AMOUNT
    04/02    Card Purchase          03/30 Apr Itunes.Com/Bill 866-712-7753 CA Card 4378                                           $0.99
    04/09    Card Purchase          04/06 Movenpick Hotel Kara Karachi Card 4378                                               2,032.84
             Pk Rupee
             234914.59 X 0.008653528 {Exchg Rte)
    04/09    Foreign Exch Rt ADJ Fee 04/06 Movenpick Hotel Kara Karachi Card 4378                                                 60.98
    04/09    Card Purchase          04/06 Islamabd Marriott Note Islamabad Card 4378                                            475.94 i/
             Pk Rupee
             55000.00 X 0.008653455(Exchg Rte)
    04/09    Foreign Exch Rt ADJ Fee 04/06 Islamabd Marriott Hote Islamabad Card 4378                                             14.27^
    04/09    Card Purchase       04/07 Brinkster 480-388-3777 A2 Card 4378                                                        30.06
    04/09    Card Purchase       04/08 Taiha Jewellers Rawalpindi Card 4378                                                    6,922.81
             Pk Rupee
             800000.00 X 0.008653513(Exchg Rte)
    04/09    Foreign Exch Rt ADJ Fee 04/08 TaIha Jewellers Rawalpindi Card 4378                                                 207.68 •
    04/13    Card Purchase         04/12 FsPFrontier 800-921-8101 CT Card 4378                                                  210.52 t/
    04/16    Card Purchase         04/14 Mcdonald's F20727 Dfw Airport TX Card 4378                                               10.77^^
    04/16    Card Purchase With Pin 04/14 Foxnewsst2513 Dallas TX Card 4378                                                        3.99 ■
    04/16    Card Purchase         04/15 Au Bon Pain A-34 Dallas TX Card 4378                                                     11.13i^
    04/16    Card Purchase         04/15 Dfw Airport Parking Dtw /tirport TX Card 4378                                           33.00^
    04/16    Card Purchase With Pin 04/16 Wal-Mart #5672 Lucas TX Card 4378                                                      51.53
    04/17    Card Purchase         04/16 Emirates    Ghilw/16 Www.Emlrates. NY Card 4378                                        9OO.OO1/
    04/17    Card Purchase         04/17 /\pl* Itunes.Com/Bill 866-712-7753 CA Card 4378                                           5.40\/
    04/19    Card Purchase         04/18 Kabob Cowboy Richardson TX Card 4378                                                     16.76 >
    04/19    Card Purchase         04/18 Texaco 0303909 Richardson TX Card 4378                                                   49.99 v/
    04/23    Card Purchase         04/22 Kfc J625020 Piano TX Card 4378                                                           15.56
    04/27    Card Purchase       04/27 Apl' Itunes.Com/BIII 866-712-7753 CA Card 4378                                              2.15 ■'
    04/30    Card Purchase With Pin 04/28 Murphy Express Allen TX Card 4378                                                        4.89 1/
    04/30    ATM Withdrawal       04/28 1204 Angel Pkwy Allen TX Card 4378                                                      800.00 J
    04/30    Card Purchase With Pin 04/29 Racetrac 198 Dallas TX Card 4378                                                        37.86»y
    Total ATM & Debit Card Withdrawals                                                                                  $11,899.12



     ATM & DEBIT CARD SUMMARY
    Muhammad Stddiqi Card 4378
                              Total ATM Withdrawals & Debits                                                                   $800.00
                              Total Card Purchases                                                                     $11,099.12
                              Total Card Deposits & Credits                                                                 $0.00
    ATM & Debit Card Totals

                              Total ATM Withdrawals & Debits                                                                   $800.00
                              Total Card Purchases                                                                     $11,099.12
                              Total Card Deposits & Credits                                                                      $0.00


    ELECTRONIC WITHDRAWALS
    DATE     DESCRIPTION                                                                                                        AMOUNT
7   04/02   Paymentech     Fee      6241464       CCD ID: 1020401225                                                            377.40
    04/03   JPMorgan Chase Auth Debit 7024830799       Web ID: 9200502233                                                          0.50
    04/18   Quickpay With Zelle Payment To Millan 7074198864                                                                    400.00
    04/18   04/18 Payment To Chase Card Ending IN 3191                                                                         1,000.00
    04/18   Simmons Bank - L Tel Pmts      Lq97        Tel ID; 1710162300                                                      2,406.74



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            CHASE O                                                                       March 31, 201 Slhrough April 30, 2018
            JPMorgan Chase Bank, N.A.
            POBox 182051                                                               Account Number:                         0290
            Columbus,OH 43218-20S1

                                                                                    CUSTOMER SERVICE INFORMATION
                                                                                    Web site:                          Chase.com
                                                                                    Service Center:               1-800-242-7338
           00030230 ORE 201 142 12118 YNNNNNNNNNN T 1 000000000600000               Deaf and Hard of Hearing:     1-800-242-7383
           HIBA ENTERTAINMENT INC                                                  Para Espanol:                  1-888-622-4273
           3020 BIG TOWN BLVD                                                      International Calls:           1-713-262-1679
           MESQUITETX 75150-2412




                                                Chase BuslnessSelect Checking
     CHECKING SUMMARY
                                                   INSTANCES                       AMOUNT
     Beginning Balance                                                         $37,512.17
     Deposits and Additions                                 6                   58,095.50
     Checks Paid                                            1                   -2,000.00
     ATM & Debit Card Withdrawals                          23                  -11,899.12
     Electronic Withdrawals                                 8                   -4,645.88
     Ending Balance                                        38                 $77,062.67



    DEPOSITS AND ADDITIONS
     DATE         DESCRIPTION                                                                                                   AMOUNT

    04/03         JPMorgan Chase Auth Crdt                PPD ID: 9200502233                                                      $0.44
    04/03         JPMorgan Chase Aulh Crdt                PPD ID: 9200502233                                                       0.06
    04/05         Deposit   969777787                                                                                          1,000.00
    04/06         Deposit   905330787                                                                                          6,495.00
    04/19         Paymentech    Deposit 6241464             CCD ID: 1020401225                                                  600.00
    04/25         Deposit                                                                                                 50,000.00
    Total Deposits and Additions                                                                                         $58,095.50


    CHECKS PAID
                                                                                                          DATE
    CHECK NO.            DESCRIPTION                                                                      PAID                  AMOUNT

4   1119                                                                                                  04/30           $2,000.00
    Total Checks Paid                                                                                                     $2,000.00

    If you see a description in the Checks Paid section. It means that we received only electronic Information about the check,
    not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
      An image of this check may be available for you to view on Chase.com.




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        CHASEO                                                                  February 01, 2018through February 28, 2018
                                                                                Account Number;                    0290




ATM & DEBIT CARD WITHDRAWALS
DATE    DESCniPTTON                                                                                                  AMOUNT
02/01   Card Purchase           01/31 Ace Parking 3713 Dallas TX Card 4378                                             $5.00 V/
02/01   Card Purchase With Pin 02/01 Racetrac526 Piano TX Card 4378                                                    17.86x/
02/05   Card Purchase           02/02 Tuscany Pizza Grand Prarie TX Card 4376                                          37.01v/
02/05   Card Purchase With Pin 02/02 Kroger #0 2608 W Fm 54 Wylie TX Card 4378                                         59.92\/
02/05   Card Purchase       02/03 Target     00025502 Wylie TX Card 4378                                              105.78 vy
02/06   Card Purchase With Pin 02/05 Wai-Mart Wal-Mart Sup Wylie TX Card 4378                                           6.68 vA
02/07   Card Purchase With Pin 02/06 Kroger 11565A State Hw Sugar Land TX Card 4378                                    55.07    y
02/08   Card Purchase          02/07 91272 Dallas On Street Dallas TX Card 4378                                         1.00-
02/12   Card Purchase          02/10 Starbucks Store 06421 Conroe TX Card 4378                                          8.01
02/12   Card Purchase          02/10 Starbucks Store 06421 Conroe TX Card 4378                                          2.98
02/12   Card Purchase With Pin 02/11 Kroger 2222 1-45 Conroe TX Card 4378                                              40.44
02/12   Card Purchase With Pin 02/11 Wal-Mart #5672 Lucas TX Card 4378                                                 23.40-^
02/12   Card Purchase With Pin 02/12 Racetrac 93 Alien TX Card 4378                                                    11.92
02/15   Card Purchase          02/13 Mcdonald's M7273 of TX Murphy TX Card 4378                                         2.58-
02/15   Card Purchase          02/14 Tmobile*Postpaid Tel 800-937-8997 WA Card 4378                                   103.44
02/20   Card Purchase          02/16 Tuscany Pizza Grand Prarie TX Card 4378                                           75.62
02/20   Card Purchase With Pin 02/17 Racetrac 99 Piano TX Card 4378                                                     in/
02/20   Card Purchase          02/20 Tmobiie*Postpaid Fdp 800-937-8997 WA Card 4378                                  413.75 \J.
02/21   Card Purchase       02/21 Subway       00102194 Addison TX Card 4378
02/21   Card Purchase With Pin 02/21 Quiktrip Corp Wylie TX Card 4378                                                  56.28
02/26   Card Purchase          02/23 Starbucks Store 11296 Dallas TX Card 4378                                          4.22'-'
02/26   Card Purchase With Pin 02/24 Racetrac 93 Allen TX Card 4378                                                     9.99
02/26   Card Purchase With Pin 02/25 Shell Service S Allen TX Card 4378                                                17.30

Total ATM & Debit Card Withdrawals                                                                                $1,073.59



 ATM & DEBIT CARD SUMMARY
Muhammad Siddiqi Card 4378
                          Total ATM Withdrawals & Debits                                                             $0.00
                          Total Card Purchases                                                                   $1,073.59
                          Total Card Deposits & Credits                                                            $500.00
ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                              $0,00
                          Total Card Purchases                                                                   $1,073.59
                          Total Card Deposits & Credits                                                            $500.00


ELECTRONIC WITHDRAWALS
DATE    DESCRIPTION                                                                                                  AMOUNT
02/21   Quickpay With Zelie Payment To Bito Bhai 6921044682                                                           $1,00
02/21   Quickpay With Zeile Payment To Bito Bhai 6921217766                                                          500.00
02/23   Paymentech      FinADJ 6241464         CCD ID: 1020401225                                                    100.00
02/26   02/26 Domestic Wire Transfer Via; Tib Dalias/111010170 NO. Grand Ridge National Bank Ref:                 16,250.00
        Further Credit Vibrant Media Group LLC 1069 W Golf Rd Hoffman Estates, IL 60169Acct
        0020008413 Imad; 0226B1Qgc08C002132 Tm:5797800054Es
Total Electronic Withdrawals                                                                                     $16,851.00
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       CHASE O                                                            December 30, 2017through January 31, 2018
                                                                          Account Number,                    0290



                                                           (continued)
ATM & DEBIT CARD WITHDRAWALS
DATE    DESCRIPTION                                                                                                AMOUNT
                                                                                                                     4.99

01/29   Card Purchase With Pin 01/27 7-Eleven 33654 Murphy TX Card 4378                                             39,99

01/31   Card Purchase       01/30 Apl* Itunes.Com/Bill 866-712-7753 CA Card 4378                                     0.99

Total ATM & Debit Card Withdrawals                                                                           $1,382.98



 ATM & DEBIT CARD SUMMARY
Muhammad Siddiqi Card 4378
                      Total ATM Withdrawals & Debits                                                           $603.00
                          Total Card Purchases                                                                 $779.98
                          Total Card Deposits & Credits                                                             $0.00

ATM & Debit Card Totals
                          Total ATM Withdrawals & Debits                                                       $603.00
                          Total Card Purchases                                                                 $779.98
                          Total Card Deposits & Credits                                                             $0.00


ELECTRONIC WITHDRAWALS
                                                                                                                   AMOUNT
DATE    DESCRIPTION

01/02   Quickpay With Zelle Payment To Millan 6787217588                                                     $1,000.00 v/
01/02   01/01 Payment To Chase Card Ending IN 3191                                                                 500.00[/
01/09   Quickpay With Zelle Payment To Millan 6809627283                                                           600.00^
01/12   01/12 Payment To Chase Card Ending IN 3191                                                                 500.00^
01/16   Quickpay With Zefle Payment To Guy Cannon 6826156673                                                       500.00

01/16   Quickpay With Zelle Payment To Laura Moonan 6828861242                                                        I.OOi/
01/22   Farmers Ins       EFT Pymt             PPD ID: 1952575893                                                  765.49

01/23   U.S. Bank NA. Payment 000000515313653 Tel ID: 5551540853                                                   580.24 v/
01/25   Stream Energy Utility 2125379  Web ID: 0000007041                                                           27.24

01/25   Kubra Stream Web Utility 2141053        Web ID: 0000007041                                                   2.95 v/
01/29   Quickpay With Zelle Payment To Millan 6857015588                                                           300.00 I/'

Total Electronic Withdrawals                                                                                 $4,756.92


OTHER WITHDRAWALS
        DESCRIPTION                                                                                                AMOUNT
 DATE

01/22   01/22 Withdrawal                                                                                           $900.00

Total Other Withdrawals                                                                                            $900.00


 FEES
 DATE   DESCRIPTION                                                                                                AMOUNT

01/22   Non-Chase ATM Fee-With                                                                                       $2.50

Total Fees                                                                                                           $2.50




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            CHASE©                                                                     December 30,2017through January 31,2018
                                                                                       Account Number:                  0290



    DEPOSITS AND ADDITIONS
     DATE        DESCRIPTION
                                                                                                                             AMOUNT
    01/08        Deposit     938595795                                                                                  $6,600.00
    Total Deposits and Additions                                                                                        $6,600.00

    CHECKS PAID
                                                                                                        DATE
    CHECK NO.           DESCRIPTION                                                                     PAID                 AMOUNT
    1118 *                                                                                              01/08          $30,000.00
    1120                                                                                                01/17               1,050.00
    Total Checks Paid                                                                                                  $31,050.00
    If you see a description In the Checks Paid section, it means that we received only electronic information about the check,
    not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
    * All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
     one of your previous statements.
     An image of this check may be available for you to view on Chase.com.


    ATM & DEBIT CARD WITHDRAWALS
    DATE     DESCRIPTION                                                                                                    AMOUNT
    01/02    Card Purchase       12/28 Amc Stonebriar 24 #0260 Frisco TX Card 4378                                           $34.08
    01/02    Card Purchase       12/30 Apl* Itunes.Com/Bill 866-712-7753 CA Card 4378                                          0.99
    01/02    Card Purchase With Pin 12/31 Racetrac 99 Piano TX Card 4378                                                      21.97
    01/04    Card Purchase With Pin 01/04 Shell Service Statio Faimers Branc TX Card 4378                                     27.86
    01/09    Recurring Card Purchase 01/09 Facebk 5P6Egdss42 650-5434800 CA Card 4378                                          2.82uX
    01/09    Recurring Card Purchase 01/09 Facebk 4P6Egdss42 650-5434800 CA Card 4378                                          1.09
    01/10    Card Purchase         01/09 Dallas CO Motorvehicle Dallas TX Card 4378                                           74.75
    01/10    Card Purchase         01/09 JP Morgan Ch*Aset Fee Dallas TX Card 4378                                             3.50 nX
    01/11    Card Purchase         01/09 Collln CO TX Clerk P U< Carrollton TX Card 4378                                       1.86
    01/11    Card Purchase         01/09 Collin CO TX Clerk P LA Mckinney TX Card 4378                                        81.00
    01/11    Card Purchase With Pin 01/11 Wal-Mart Super Center Lucas TX Card 4378                                            46.86
    01/16    Card Purchase         01/13 Racetrac616 00006163 Piano TX Card 4378                                              20.00 It/'
    01/16    Card Purchase With Pin 01/13 Kroger So 2608 W Fm 54 Wylie TX Card 4378                                           41.98 1/
    01/16    Card Purchase With Pin 01/13 Kroger So 2608 W Fm 54 Wylle TX Card 4378                                            4,32-^'
    01/17    ATM Withdrawal         01/17 161 W Spring Creek Pkwy Piano TX Card 4378                                         soq^qq
    01/17    Card Purchase With Pin 01/17 Murphy Express 8722 Allen TX Card 4378                                               8.08 s,/
    01/18    Card Purchase       01/17 Starbucks Store 24470 Lucas TX Card 4378                                                3,95 u/
    01/18    Card Purchase       01/17 Wendy's #11493 Lucas TX Card 4378                                                       3.55 i/"
    01/18    Card Purchase With Pin 01/18 Quiktrip Dallas TX Card 4378                                                        14.42u^
0   01/19    Card Purchase       01/18 Br Factory US 4126 Fort Worth TX Card 4378                                             33.12
    01/22    Card Purchase       01/18 National Wireless Dallas TX Card 4378                                                  35.00^/
    01/22    Card Purchase       01/20 Chuck E Cheese 597 Allen TX Card 4378                                                  12.00"
    01/22    Card Purchase         01/21 Yummy Burgers & Bbq Allen TX Card 4378                                               25.17 V"'
    01/22    Card Purchase With Pin 01/21 Kroger So 536 Centenni Richardson TX Card 4378                                      59.57
    01/22    Non-Chase ATM Withdraw 01/22 10084 OR 448 Princeton TX Card 4378                                                103.00
    01/25    Card Purchase        01/23 Too Thai Street Eats Carrollton TX Card 4378                                         90.05^/
    01/29    Card Purchase       01/27 Bjs Restaufants 439 Piano TX Card 4378                                                8D.33v/
    01/29    Card Purchase With Pin 01/27 7-Eleven Murphy TX Card 4378                                                         5.69 y




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